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                        UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               Fort Worth Division

 Outsourcing Facilities Association, et al.,

                             Plaintiffs,

        v.                                       Case No. 4:24-cv-00953-P

 U.S. Food and Drug Administration, et al.,

                             Defendants.

                                JOINT STATUS REPORT

    The parties submit this joint status report pursuant to this Court’s October 11, 2024

Order, ECF No. 28. That Order granted Defendants’ unopposed motion to voluntarily

remand the challenged decision to the United States Food and Drug Administration

(FDA) and stayed litigation pending further court order. The Court also ordered the

parties to file a joint status report by November 21, 2024. Subsequently, the Court

administratively closed this case, ECF No. 29.

    Defendants’ Report: Consistent with the Court’s October 11, 2024 Order, FDA has

made substantial progress reevaluating the challenged decision. FDA is carefully
assessing the challenged decision and continues to prioritize issuing a new decision on

remand.

    Plaintiffs’ Report: To assist FDA in its reevaluation of the challenged decision,

Plaintiffs have continued to monitor market conditions for Tirzepatide and that they,

their members, and other interested persons have provided the agency with evidence

that the drug remains in shortage. Survey data from this month shows increasing

numbers of patients unable to obtain branded GLP-1 agonist products, including
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specifically branded Tirzepatide products. 1 Pharmacy distributors continue to list

branded Tirzepatide products as out-of-stock or available in only limited quantities. 2

Meanwhile, production of compounded Tirzepatide products by members of Plaintiff

Outsourcing Facilities Association has remained steady or grown, reflecting still more

market demand and medical need that is unable to be met by branded Tirzepatide

products.

    Joint Report: The parties believe that this case should continue to be stayed

pursuant to the October 11, 2024 Order, and they intend, absent alternative direction

from the Court, to file a further joint status report by the earlier of December 19, 2024, or

within seven days of FDA’s decision on remand.




    1 See, e.g., Hims & Hers Health, Inc., Public Comment on Compounding of Human

Drug Products Under the Federal Food, Drug, and Cosmetic Act, Dkt. No. FDA-2015-N-
0030 (filed Nov. 15, 2024).
    2 See, e.g., id.; Alliance for Pharmacy Compounding, Proof: Tirzepatide Is Still in

Shortage, https://a4pc.org/stillinshortage (last visited Nov. 20, 2024).
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DATED: NOV. 21, 2024                        Respectfully submitted,

/s/ Andrew M. Grossman                      /s/ Oliver McDonald
TY DOYLE                                    OLIVER MCDONALD
  Texas Bar No. 24072075                      N.Y. Bar No. 5416789
BAKER & HOSTETLER LLP                       KIMBERLY R. STEPHENS
811 Main Street, Suite 1100                   N.Y. Bar No. 4656013
Houston, TX 77002                           DAVID H. HIXSON
(713) 646-1374                                Ill. Bar No. 6289751
tgdoyle@bakerlaw.com                        Trial Attorneys
                                            Consumer Protection Branch
ANDREW M. GROSSMAN*                         Civil Division
RICHARD B. RAILE*                           U.S. Department of Justice
RENEE M. KNUDSEN*                           P.O. Box 386
MARC N. WAGNER*                             Washington, DC 20044-0386
BAKER & HOSTETLER LLP                       (202) 305-0168 (McDonald)
1050 Connecticut Ave., N.W., Suite 1100     (202) 305-0033 (Stephens)
Washington, D.C. 20036                      (202) 449-8070 (Hixson)
(202) 861-1697                              (202) 514-8742 (fax)
AGrossman@bakerlaw.com                      Oliver.J.McDonald@usdoj.gov
                                            Kimberly.R.Stephens@usdoj.gov
* admitted pro hac vice                     David.H.Hixson@usdoj.gov

Attorneys for Plaintiffs                    Attorneys for Defendants
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                              CERTIFICATE OF SERVICE

    I hereby certify that this document, filed through the CM/ECF system, will be sent

via electronic mail to the registered participants as identified on the Notice of Electronic

Filing.


November 21, 2024                                /s/ Oliver McDonald
                                                 OLIVER MCDONALD
